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                          IN TI{E UNITED STATES DISTRICT COL]RT

                      FOR THE EASTERN DISTRICT oF PENNSYI,VANIA



UNITED STATES OF AMERICA                                CRIMINAL NO.

                                                        DATE FILED:

JOSEPH FIDEI,IE                                         VIOLATION:
                                                        42 U.S.C. $ 1320a-7b(b)(2)(A) (paying
                                                        kickbacks in connection with a Federal
                                                        health care program - I count)
                                                        Notice of forfeiture

                                        INT'ORMA'I'ION

                                          COUNT ONE

THE UNITED STATES ATTORNEY CHARGES THAT:

       At all times relevant to this information:

       1.       Tricare was a federally funded health care program ofthe United States

Department of Defense ("DoD") Military Health System that provided coverage for DoD

beneficiaries worldwide, including active duty service members, National Guard and Reserve

members, retirees, their families and survivors. Individuals who received health care benefits

through Tricare are referred to as Tricare beneficiaries. The Defense Health Agency C'DHA),

an agency   ofthe DoD, was the military entity responsible for overseeing and administering the

Tricare program.

       2.       Tricare was a "Federal health care program" as defined in Title 42, United States

Code, Section 1320a-7b(f) and as that term is used in Title 42, United States Code, Section

1320a-7b(b).




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        3.       Tricare provided coverage for certain prescription drugs, including certain

compounded drugs, which were medically necessary and prescribed by a licensed physician.

Express Scripts, Inc. ("Express Scripts") in St. Louis, Missouri, administered Tricare's

prescription drug benefits.

        4.       Tricare beneficiaries could   fi   their prescriptions through military pharmacies,

Tricare's home delivery progftrm, network pharmacies, and non-network pharmacies.            Ifa
Tricare beneficiary chose a network pharmacy, the pharmacy would collect any applicable co-

pay from the beneficiary, dispense the drug to the beneficiary, and submit a claim for

reimbursement to Express Scripts. Express Scripts would then adjudicate the claim and

reimburse the pharmacy on behalf of Tricare.

        5.       "Compounding" was a practice in which a licensed pharmacist, or a licensed

physician, combined, mixed, or altered ingredients of a drug or multiple drugs to create a

medication tailored to the needs of an individual patient. "Compounding pharmacies" were

pharmacies that specialized in creating compounded medications.

        6.       Generally, compounded drugs may be prescribed by a physician when an FDA-

approved drug does not meet the health needs of a particular patient. Compounded medications

benefit patients who, among other things, need specific dosage strengths, are limited to a

particular route of administration, or need ingredients excluded from medications due to allergies

or other sensitivities.

        7.       From in or about May 2013 through in or about May 2015, a compounding

pharmacy located in the Eastem District of Pennsylvania, known to the United States Attomey

(the "Compounding Pharmacy"), submitted claims for reimbursement to Tricare for compounded




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medications, including pain creams, scar crefins, and wellness capsules. The Compounding

Pharmacy was a network pharmacy with Tricare.

        8.             Person #1, whose identity is known to the United States Attomey, was a physician

assistant licensed in the state of Oklahoma. Person #1 worked in an orthopedic practice             in

Ok-lahoma, which treated a variety of orthopedic conditions (the "Practice"). Person        #   1



periodically prescribed medication to patients ofthe Practice for, among other things, pain

management.

        9.             Defendant JOSEPH FIDELIE was a medical assistant in the Practice from in or

about 201 I until in or about 2016. Defendant FIDELIE also began marketing compounded

medications for the Compounding Pharmacy in or about 2013 and continued until in or about

2016.

        10.            Beginning in or about 2013 and continuing until in or about 2016, defendant

JOSEPH FIDELIE offered to pay and paid kickbacks and bribes to Person #1 to induce him to

prescribe compounded medications to Tricare beneficiaries through the Compounding Pharmacy.

        I   I   .      Person # I prescribed compounded medications, including pain and scar creams,

to Tricare beneficiaries through the Compounding Pharmacy. Tricare paid approximately

5592,449 in claims to the Compounding Pharmacy for these prescriptions.

        12.            Defendant JOSEPH FIDELIE received approximately $83,266 in commission

from the Compounding Pharmacy for the claims paid by Tricare for the prescriptions ordered by

Person #l       .




        13.            Defendant JOSEPH FIDELIE paid various kickbacks to Person      #l in return for

prescribing the compounded medications through the Compounding Pharmacy.




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          14.     In or about May, 2015, in the Eastem District of Pennsylvania, and elsewhere,

defendant

                                             JOSEPH FIDELIE

knowingly and witlfully offered and paid remuneration, including kickbacks and bribes, directly

and indirectly, overtly and covertly, in cash and in kind, that is, a payment of approximately

$I   ,000 to Person # I , to induce Person   #1   to refer individuals to the Compounding Pharmacy for

the fumishing and arranging for the fumishing of any item and service for which payment may

be made in whole or in part under Tricare, a Federal health care program.

          In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A).




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                                     NOTICE OF FORFEITURE

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

        l.        As a result ofthe violation ofTitle 42, United States Code, Section 1320a-

7b(bX2)(A) set forth in this information, a Federal health care offense as defined by Title 18,

United States Code, Section 24(a), defendant

                                          JOSEPH FIDELIE

shall forfeit to the United States of America any property constituting or derived, directly or

indirectly, from gross proceeds traceable to the commission ofsuch offense, including but not

limited to the sum of approximately $33,447      .



       2.         Ifany ofthe property described above,      as a result   ofany act or omission ofthe

defendant:

                  a.     cannot be located upon the exercise ofdue diligence;

                  b.     has been transfened to, sold to, or deposited       with   a   third party;

                  c.     has been placed beyond      thejurisdiction ofthis Court;

                  d.     has been substantially diminished in value; or

                  e.     has been commingled     with other property which cannot be divided

                         without difficulty,

it is the intention ofthe United   States, pursuant to,   Title 21, United States Code, Section 853(p),

as incorporated   by Title 18, United States Code Section 982(bX1), to seek forfeiture ofany other




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property ofthe defendant up to the value of the property subject to forfeiture.

               All pursuant to Title   18, United States Code, Section 982(a)(7).




                                              {^ WILLIAM   M. McSWAIN
                                                   UNITED STATES ATTORNEY




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